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FILED
US SISTRICT COURT
DISTRICT OF MARYLAND

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AT District ‘of Maryland
Northern Division.

 

 

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September 20, 2013

Shaun F. Owens, Esq.

Schlachman, Belsky. & Weiner, P.A.
300 East Lombard Street

Suite 1100

Baltimore, Maryland 21202

Re: United States v. Gregory Missowit &LH-13-0547
Dear Mr. Owens:

This letter, together with the Sealed Supplement, confirms the plea agreement which has
been offered tothe defendant by:the United States Attorney’s Office for the District of Maryland
(“this Office”). If the defendant accepts this offer, please have him execute. it in the spaces
provided below. If this offer has not been accepted by October 4, 2013 it will be deemed
withdrawn, The terms of the agreement are as. follows:

Offense of Conviction
1. The defendant agrees to waive indictment and plead guilty fo a ome-count
Information which will be filed against him, charging him.with bribery, in violation of 18 U.S.C.
§ 201. The defendant admits that he is, in fact, guilty of that offense and will so advise the
Court.
Elements of the Offense

2. The: elements of Count One, to which the. defendant has. agreed to plead guilty,
and which this Office would prove if the case went to trial, are as follows:

a. the defendant gave money or. something else of value to a public
official, as charged in the Inforniation and Attachment A;.and

b. the defendant did so with the corrupt intent to influence an official:
act of that official.
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Penalties

3. The maximum sentence provided by statute for the offense of bribery is as
follows: fifteen years of imprisonment, a maximum term of supervised release of three years, and
maximum fine of $250,000 or three times the monetary equivalent of the thing of value,
whichever is greater.

4, in addition, the defendant must pay $100 as a special assessment for the count of
conviction pursuant to 18 U.S.C. § 3013, which will be due and should be paid at or before the
time of sentencing.

5. This Court may also order him to make restitution pursuant to 18 U.S.C. §§ 3663,
3663A, and 3664. If a fine or restitution is imposed, it shall be payable immediately, unless,
pursuant to 18 U.S.C. § 3572(d), the Court orders otherwise.

6. The defendant understands that if he serves a term of imprisonment, is released on
supervised release, and then violates the conditions of his supervised release, his supervised
release could be revoked - even on the last day of the term - and the defendant could be returned
to custody to serve another period of incarceration and a new term of supervised release. The
defendant understands that the Bureau of Prisons has sole discretion in designating the institution
at which the defendant will serve any term of imprisonment imposed.

Waiver of Rights

7. The defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

a, If the defendant had persisted in his plea of not guilty, he would
have had the right to a speedy jury trial with the close assistance of competent
counsel. That trial could be conducted by a judge, without a jury, if the
defendant, this Office, and the Court all agreed.

b. If the defendant elected a jury trial, the jury would be composed of
twelve individuals selected from the community. Counsel and the defendant
would have the opportunity to challenge prospective jurors who demonstrated
bias or who were otherwise unqualified, and would have the opportunity to strike
a certain number of jurors peremptorily. Al! twelve jurors would have to agree —
unanimously before the defendant could be found guilty of any count. The jury
would be instructed that the defendant was presumed to be innocent, and that
presumption could be overcome only by proof beyond a reasonable doubt.

c. If the defendant went to trial, the government would have the
burden of proving the defendant guilty beyond a reasonable doubt. The defendant
would have the right to confront and cross-examine the government’s witnesses,
The defendant would not have to present any defense witnesses or evidence

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whatsoever. If the defendant wanted to call witnesses in his defense, however, he
would have the subpoena power of the Court to compel the witnesses to attend.

d, The defendant wouid have the right to testify in his own defense if
he so chose, and he would have the right to refuse to testify. If he chose not to
testify, the Court could instruct the jury that they could not draw any adverse
inference from his decision not to testify.

e. If the defendant were found guilty after a trial, he would have the
right to appeal the verdict and the Court’s pretrial and trial decisions on the
admissibility of evidence to see if any errors were committed which would require
a new trial or dismissal of the charges against him. By pleading guilty, the
defendant knowingly gives up the right to appeal the verdict and the Court’s
decisions.

f. By pleading guilty, the defendant will be giving up all of these
rights, except the right, under the limited circumstances set forth in the “Waiver
of Appeal” paragraph below, to appeal the sentence. By pleading guilty, the
defendant understands that he may have to answer the Court’s questions both
about the rights he is giving up and about the facts of his case. Any statements
the defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the defendant’s plea of guilty, there will be no
further trial or proceeding of any kind, and the Court will find him guilty.

h. By pleading guilty, the defendant will also be giving up certain
valuable civil rights and may be subject to deportation or other loss of
immigration status. The defendant recognizes that if he is not a citizen of the
United States, pleading guilty may have consequences with respect to his
immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the
United States. Removal and other immigration consequences are the subject of a
separate proceeding, however, and the defendant understands that no one,
including his attorney or the Court, can predict with certainty the effect of a
conviction on immigration status. The defendant nevertheless affirms that he
wants to plead guilty regardless of any potential immigration consequences.

Advisory Sentencing Guidelines Apply

8. The defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing
Reform Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e))
and 28 U.S.C. §§ 991 through 998. The defendant further understands that the Court will impose
a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

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Factual and Advisory Guidelines Stipulation

9. This Office and the defendant understand, agree and stipulate to the statement of
facts attached hereto as Attachment A, which this Office would prove beyond a reasonable
doubt.

10. This Office and the defendant understand, agree and stipulate to the following
applicable sentencing guidelines factors:

a. the parties agree and stipulate that the base offense level is 12,
pursuant to U.S.S.G. § 2C1.1(a)(2);

b. the parties agree and stipulate that 2 levels should be added,
pursuant to U.S.S.G. §§ 2C1.1(b)(1) because the offense involved more than one
bribe;

c. the parties agree and stipulate that 12 levels should be added,
pursuant to U.S.S.G. §§ 2B1.1(b){1)(G) because the total loss to the government
was more than $200,000 but less than $400,000.

d. the parties agree and stipulate that the final offense level
before other adjustments is 26.

11. This Office does not oppose a two-level reduction in the defendant’s adjusted
offense level, based upon the defendant’s apparent prompt recognition and affirmative
acceptance of personal responsibility for his criminal conduct. This Office agrees to make a
motion pursuant to U.S.S.G. § 3E1.1(b) for an additional one-level decrease in recognition of the
defendant’s timely notification of his intention to plead guilty. This Office may oppose any
adjustment for acceptance of responsibility if the defendant (a) fails to admit each and every item
in the factual stipulation; (b) denies involvement in the offense; (c) gives conflicting statements
about his involvement in the offense; (d) is untruthful with the Court, this Office, or the United
States Probation Office; (e) obstructs or attempts to obstruct justice prior to sentencing; (f)
engages in any criminal conduct between the date of this agreement and the date of sentencing;
or (g) attempts to withdraw his plea of guilty. In the event this Office makes a motion for the
third level of acceptance, the offense level will be 23.

12. The defendant understands that there is no agreement as to his criminal history or
criminal history category, and that his criminal history could. alter his offense level if he is a
career offender or if the instant offense was a part of a pattern of criminal conduct from which he
derived a substantial portion of his income.

13. The defendant is free to argue for any offense characteristics, departures and/or
adjustments set forth in Chapters 2, 3 or 4 of the United States Sentencing Guidelines, as well as
a variance under 18 U.S.C. § 3553, upon giving the Government notice at least two weeks prior
to the date of sentencing. The Government reserves the right to oppose any request(s) made by
the defendant.

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Restitution

14. The defendant agrees to pay restitution to the United States Postal Service in the
amount of $394,000, pursuant to 18 U.S.C. §§ 3663, 3663A(a)(3), 3563(b)(2), and 3583(d). The
defendant agrees that the total amount of restitution reflected in this agreement results from the
defendant’s offense conduct. The defendant further agrees that he will fully disclose to the
probation officer and to the Court, subject to the penalty of perjury, all information, including but
not limited to copies of all relevant bank and financial records, regarding the current location and
prior disposition of all funds obtained as a result of the criminal conduct set forth in the factual
stipulation. The defendant further agrees to take all reasonable steps to retrieve or repatriate any
such funds and to make them available for restitution. If the defendant does not fulfill this
provision, it will be considered a material breach of this plea agreement, and this Office may
seek to be relieved of its obligations under this agreement.

Collection of Financial Obligations

15. | The defendant expressly authorizes the U.S. Attorney’s Office to obtain a credit
report in order to evaluate the defendant’s ability to satisfy any financial obligation imposed by
the Court.

16. In order to facilitate the collection of financial obligations to be imposed in
connection with this prosecution, the defendant agrees to disclose fully all assets in which the
defendant has any interest or over which the defendant exercises control, directly or indirectly,
including those held by a spouse, nominee or other third party.

17, The defendant will promptly submit a completed financial statement to the United
States Attorney’s Office, in a form this Office prescribes and as it directs. The defendant
promises that the financial statement and disclosures will be complete, accurate and truthful, and
understands that any willful falsehood on the financial statement will be @ separate crime and
may be punished under 18 U.S.C. § 1001 by an additional five years of incarceration and fine.

Obligations of the United States Attorney’s Office

18. At the time of sentencing, this Office will recommend a sentence within the
guidelines range, but will not recommend a fine.

19, The parties reserve the right to bring to the Court’s attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
defendant’s background, character and conduct.

Waiver of Appeal

20. In exchange for the concessions made by this Office and the defendant in this plea
agreement, this Office and the defendant waive their rights to appeal as follows:

21. The defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or

otherwise, to appeal the defendant’s conviction;

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a. The defendant and this Office knowingly waive all right, pursuant
to 18 U.S.C. § 3742 or otherwise, to appeal whatever sentence is imposed
(including the right to appeal any issues that relate to the establishment of the
advisory guidelines range, the determination of the defendant’s criminal history,
the weighing of the sentencing factors, and the decision whether to impose and
the calculation of any term of imprisonment, fine, order of forfeiture, order of
restitution, and term or condition of supervised release), except as follows: (i) the
defendant reserves the right to appeal any term of imprisonment to the extent that
it exceeds 57 months of imprisonment; (ii) and this Office reserves the right to
appeal any term of imprisonment to the extent that it is below 46 months of
imprisonment.

b. Nothing in this agreement shall be construed to prevent the
defendant or this Office from invoking the provisions of Federal Rule of Criminal
Procedure 35(a), or from appealing from any decision thereunder, should a
sentence be imposed that resulted from arithmetical, technical, or other clear
error.

22. The defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Obstruction or Other Violations of Law

23. The defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the event
that the defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under U.S.S.G. § 3C1.1, or (ii) fails to accept personal
tesponsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or
local law, then this Office will be relieved of its obligations to the defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations
other than those set out in this agreement. As with any alleged breach of this agreement, this
Office will bear the burden of convincing the Court of the defendant’s obstructive or unlawful
behavior and/or failure to acknowledge personal responsibility by a preponderance of the
evidence. The defendant acknowledges that he may not withdraw his guilty plea because this
Office is relieved of its obligations under the agreement pursuant to this paragraph.

Court Not a Party

24, The defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the defendant understands that neither the United States Probation Office
nor the Court is bound by the stipulation set forth above, and that the Court will, with the aid of
the Presentence Report, determine the facts relevant to sentencing. The defendant understands

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that the Court cannot rely exclusively” ‘upon the stipulation in ascertaining the factors relevant to

the determination of sentence. Rather, in determining the factual basis for the sentence, the

Court will consider-the stipulation, together with the resuits.of the ‘presentence ‘investigation, and
any other relevant information. The defendant.understands that the Court is under no obligation

‘to.accept this Office’s recommendations, andthe Court has the power to impose a Seritence up to.
‘and including ‘the statutory. maximum stated above. The defetidant’ understarids that if the Court
ascertains factors different from those contained in the stipulation set forth above, or if the Court’

should: impose any sentence-up to the maximum established by statute, the defendant cannot, for
that reason alone; withdraw his guilty: plea, ‘and ‘will remain. bound to fulfill all of his obligations
under this agreement. The: defendant understands: that neither.the prosecutor, his.counsel, nor the
Court can maké-a binding prediction, promiise; of representation as to what. guidelines range or
senterice. the defendant will. receive. The defendant agrees that nd one has made such.a binding
‘prediction or promise.

Entire Agreement

25. This letter supersedes: any prior‘understandings, promises, or conditions between
this Office and the defendant and, together -with the Sealed Supplement,-constitutes the complete

plea. agreement. in this case. ‘The. defendant. acknowledges-that there are no other agreements,

promises, undertakings or understaridings between the defendant and this Office other than those

set forth in this letter and. the Sealed Supplement and none will be enteréd into unless in-writing

and signed by all parti¢s,
If the defendant-fully accepts each-and every term:and condition of this agreement, please
sign and have: the defendant sign the original:and return-it to me promptly...
‘Very truly yours,

Rod.J. Rosenstein
Unifed States Attorney

   

 

 

 
 

‘Petdr-M. Nothstein
Sistant United States Attorney:

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I have read this agreement, including the Sealed Supplement, and carefully revie
every part of it with my attorney. I understand it, and ] voluntarily agree to it. Specifi
have reviewed the Factual and Advisory Guidelines Stipulation wi
wish to change any part of it. I am completely satisfied with the re

 
    

I am Mr. Missouri’s attorney. I have carefully reviewed every part of this agreement,
including the Sealed Supplement, with him. He advises me that he understands and accepts its
terms. To my knowledge, his decision to enter into this agreement is an informed and voluntary

one.
fo 204, hy

Date “Shaun F. Owens, Esq.

 

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ATTACHMENT A: Factual Stipulation

The parties hereby stipulate and agree that had this matter gone to trial, the government
would have proven the following facts through competent evidence beyond a reasonable doubt.
The parties also stipulate and agree that the following facts do not encompass all of the evidence
that would have been presented had this matter gone to trial.

At all times relevant, the defendant, Gregory Missouri (“Missouri”), was employed as a
sworn police officer with the Howard County Police Department. In addition to his work as a
police officer, Missouri operated a landscaping company, Missouri Landscaping. In 2007, the
defendant met R.W., the Station Manager at the Waverly, Maryland Post Office (the “Waverly
Post Office”).

R.W. and Missouri devised a bribery scheme using the Waverly Post Office and Missouri
Landscaping whereby R,W. would submit inflated or false invoices charging the United States
Postal Service (“USPS”) for work purportedly performed by Missouri Landscaping at the
Waverly Post Office. In Some instances, the invoiced work for general landscaping and snow
removal services was performed, but the cost on the invoice was greatly inflated by R.W. and the
defendant over the actual cost of the services. In other instances, the landscaping services and
snow removal listed on the invoice were not performed by Missouri Landscaping at all, but
R.W. nonetheless approved the false invoices and submitted them into the USPS payment system
for payment. The USPS then paid the defendant for the services purportedly performed by
Missouri Landscaping, and the defendant deposited the checks from the USPS into his bank
account. After receiving the funds, Missouri paid R.W. at least half of the fraudulently obtained
proceeds, either by cash or by check.

In his position as Station Manager for the Waverly Post Office, R.W. was a public
official in that he was an employee acting on behalf of the USPS, an agency of the United States.
As station manager, the approval of invoices was an official act in that it was an action and
decision within R.W.’s official capacity as station manager of the Waverly Post Office. Missouri
paid R.W. the proceeds of the inflated or false invoices in order to influence him to collude in
and allow a fraud on the United States, as well as to influence R.W. to approve future inflated or
false invoices, in violation of his official duties.

From October 2007 to December 1, 2012, R.W. submitted invoices for Missouri
Landscaping to the USPS for a total of $394,170 for services ostensibly performed at the
Waverly Post Office. In contrast, from August 2005 to November 2007 (the period prior to
R.W.’s control of the Waverly Station), the station spent only $4,258 for landscaping services.
The value of services Missouri actually performed for the Waverly Post Office was far less than
the amount invoiced. :

R.W. also introduced Missouri to K.P., the Station Manager of the Post Office at 3703
Old Court Road Pikesville, Maryland (the “Pikesville Post Office”). K.P. and the defendant

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engaged in the same false invoice bribery scheme as the defendant and R.W. Once the inflated
or false invoice was paid, the defendant met with K.P. and paid her at least half of the proceeds.
The payments to K.P. were made to influence her to collude in and allow a fraud on the United
States, as well as to influence K.P. to approve future inflated or false invoices, in violation of her
official duties. Missouri Landscaping invoiced the Pikesville Post Office 38 times, for a total of
$65,000. For all but one of those invoices, Missouri performed some of the services reflected on
the invoices, but the invoices were significantly inflated. For one invoice, none of the services
listed were ever performed.

The parties agree that the loss to the government from the defendant’s involvement in the
bribery scheme was between $200,000 and $400,000.

    
   

* * *

I have read this statement of facts, and carefully reviewed j
acknowledge that it is true and correct.

my attomney/1-"

OLE f 203
Date

1 am Gregory Missouri’s attorney. I have carefully reviewed the statement of facts with
him.

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aie

‘Shaun F. Owens, Esq.

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